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   8                       UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
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       IN RE: PACKAGED SEAFOOD                      Case No. 15-md-2670-JLS-MDD
 11    PRODUCTS ANTITRUST
       LITIGATION                                   Judge: Hon. Janis L. Sammartino
 12
 13    This Document Relates to:                    ORDER GRANTING MOTION TO
                                                    WITHDRAW APPEARANCE OF
 14    The Kroger Co., et al v. Bumble Bee          COUNSEL
       Foods LLC, et al; Case No. 16-cv-
 15    0051-JLS                                     (ECF No. 2452)
 16
 17          Presently before the Court is a Motion to Withdrawal Appearance of Counsel
 18    (ECF No. 2452, “Motion to Withdraw.”) Brandon S. Floch, attorney for Plaintiffs
 19    The Kroger Co., Albertsons Companies, LLC, Hy-Vee, Inc., and H.E. Butt Grocery
 20    Company (the “Kroger Plaintiffs”), seeks to withdraw as counsel. Kroger Plaintiffs
 21    will continue to be represented by their designated lead counsel William J. Blechman
 22    with Kenny Nachwalter, P.A.
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       ORDER GRANTING MOTION TO WITHDRAW                        Case No: 15-md-2670-JLS-MDD
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   1         Accordingly, pursuant to Civil Local Rule 83.3(f), the Motion to Withdraw is
   2   GRANTED. The Clerk of Court will update the docket to reflect the withdrawal of
   3   Brandon S. Floch and remove his name from the CM/ECF electronic service list.
   4          IT IS SO ORDERED.
   5   Dated: January 11, 2021
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       ORDER GRANTING MOTION TO WITHDRAW                     Case No: 15-md-2670-JLS-MDD
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